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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )
                                         )
                    Plaintiff,           )                 4:09CR3031
                                         )
             v.                          )
                                         )
MICHAEL KONING, LOWELL                   )      MEMORANDUM AND ORDER
BAISDEN, SUSAN BAISDEN-                  )
KONING,                                  )
                                         )
                    Defendants.          )



      Defendant Michael Koning has filed a Motion to Seal the evidence submitted
in support of his Motion for Return and Destruction of Inadvertently Disclosed
Documents protected by the attorney/client privilege, (filing no. 27). The evidence
has been provisionally filed under seal. (Filing No. 30).

       IT IS ORDERED that defendant Michael Koning’s Motion to Seal, (filing no.
29), should be granted, and the evidence filed by this defendant (filing no. 30), shall
remain filed under seal.

      DATED this 20th day of July, 2009.

                                        BY THE COURT:
                                        Richard G. Kopf
                                        United States District Judge
